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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

YUJING ZHANG,

                   Petitioner,

v.                                                  Case No. 2:20-cv-876-JLB-MRM

SECURITY DEPARTMENT, GLADES
COUNTY JAIL, and
WARDEN, GLADES COUNTY JAIL

                   Defendants.


                             ORDER OF DISMISSAL

      Pending before the Court is Petitioner Yujing Zhang’s amended 28 U.S.C. §

2241 petition for writ of habeas corpus. (Doc. 8.) Respondent asks the Court to

dismiss the Petition as moot because Petitioner has been deported. (Doc. 22.)

After careful review, the Court dismisses the petition because the Court can no

longer provide Petitioner with the sole relief she requests––release from her

continued detention.

                                 I.   Background

      Petitioner is a native and citizen of China. (Doc. 13 at 2; Doc. 13-1.) The

United States Immigration and Customs Enforcement (ICE) took Petitioner into

custody on December 4, 2019. (Doc. 13-4 ¶ 8.) On December 20, 2019, an

immigration judge ordered Petitioner removed to China. (Doc. 13-7.) The removal

order became final on January 21, 2020 because Petitioner did not file an appeal

with the Board of Immigration Appeals. (Doc. 13-4 ¶ 10.) On November 4, 2020,
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Petitioner filed a petition for writ of habeas corpus under 28 U.S.C. § 2241, and she

amended her petition on December 23, 2020. (Doc. 1; Doc. 8.)

      Petitioner challenges her continued detention by ICE pending deportation as

unconstitutional under Zadvydas v. Davis. 1 (Id. at 4.) However, on November 12,

2021, Petitioner was removed from the United States. (Doc. 22 at 1; Doc. 22-1.)

                                  II.    Discussion

      The Court finds this action must be dismissed as moot. “[A] case is moot

when the issues presented are no longer ‘live’ or the parties lack a legally cognizable

interest in the outcome.” Al Najjar v. Ashcroft, 273 F.3d 1330, 1335–36 (11th Cir.

2001) (internal punctuation omitted). “If events that occur subsequent to the filing

of a lawsuit or an appeal deprive the court of the ability to give the plaintiff or

appellant meaningful relief, then the case is moot and must be dismissed.” Al

Najjar, 273 at 1336. Release alone does not automatically moot a petitioner’s

claim. A petition may continue to present a live controversy after release or

deportation when there is some remaining collateral consequence that may be

redressed by success on the petition. Spencer v. Kemna, 523 U.S. 1, 7–8 (1998)

(“Once the convict’s sentence has expired, however, some concrete and continuing

injury other than the now-ended incarceration or parole—some ‘collateral

consequence’ of the conviction—must exist if the suit is to be maintained.”); Lopez v.



      1  In Zadvydas v. Davis, 533 U.S. 678 (2001), the Supreme Court held the
United States may not indefinitely detain aliens under an order of deportation. To
justify detention of aliens for a period of longer than six months, the government
must show that removal will occur in the foreseeable future or special
circumstances.


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Gonzales, 549 U.S. 47, 52 n.2 (2006) (noting that a case is not mooted by a

petitioner’s deportation if the petitioner could still benefit by pursuing his

application for cancellation of removal). And an exception to the mootness doctrine

also applies when: (1) the challenged action is too short in duration to be litigated

before its cessation or expiration; and (2) there is a reasonable expectation that the

same complaining party would face the same action again. Murphy v. Hunt, 455

U.S. 478, 482 (1982).

      In the immigration context, the Eleventh Circuit has held that a habeas

petition filed by a deported alien may survive a mootness challenge if the petitioner

challenges not only his detention, but also his final order of removal. Salmeron-

Salmeron v. Spivey, 926 F.3d 1283, 1290 (11th Cir. 2019) (citing Moore v. Ashcroft,

251 F.3d 919, 922 (11th Cir. 2001) (holding that the time bar on readmission to the

United States after applicant’s removal satisfied the injury requirement)). Here,

Petitioner challenges only her continued detention by ICE—not her final order of

removal—and it is undisputed that she has been released from ICE custody.

      Therefore, to the extent Petitioner seeks release or an individualized bond

hearing, the Court can no longer provide meaningful relief. Thus, her amended

petition is moot. See Soliman v. United States ex rel. INS, 296 F.3d 1237, 1243 n.2

(11th Cir. 2002) (distinguishing Moore, and finding the case moot, because the

petitioner did not challenge his final order of removal).




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                                 III.   Conclusion

      Because the Court can no longer provide Petitioner any meaningful relief on

this petition, “dismissal is required because mootness is jurisdictional.” Al Najjar,

273 F.3d at 1336.

      The Court also finds that a certificate of appealability is not warranted.

Petitioner cannot make “a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2). To make this showing, Petitioner “must

demonstrate that reasonable jurists would find the district court’s assessment of the

constitutional claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282

(2004), or that “the issues presented were adequate to deserve encouragement to

proceed further,” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003).

      Accordingly, it is now ORDERED:

      1.     Yujing Zhang’s Amended Petition for Writ of Habeas Corpus (Doc. 8) is

             DISMISSED as moot.

      2.     Ms. Zhang is DENIED a certificate of appealability.

      3.     The Clerk is DIRECTED to enter judgment, deny any pending motions

             as moot, terminate any deadlines, and close this file.

      DONE AND ORDERED in Fort Myers, Florida on January 24, 2022.




SA: FTMP-2

Copies furnished to:



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Counsel of Record
Unrepresented Parties




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